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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION
                        ________________________________________


FRANCISCO VEGA GENCHI,
a/k/a CARLOS VEGA GENCHI,
 ​an individual,                                                     Case No.
                 Plaintiff,                                          HON.
v.

GRAND RIVER GRAIN, LLC,
a domestic limited liability company, and
KEITH E. HANENBURG,
an individual, jointly and severally,
                Defendants.

AVANTI LAW GROUP, PLLC
Robert Anthony Alvarez (P66954)
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                 PLAINTIFF’S ORIGINAL COMPLAINT AND JURY DEMAND

        NOW COMES Plaintiff, by and through his attorney, Avanti Law Group, PLLC, and in

his Complaint states as follows:

1.      This is a civil action brought on behalf of Plaintiff to recover for Defendants’ willful and

        knowing violation of the Fair Labor Standards Act (FLSA), 29 U.S.C. § 201 et seq​., and

        the Michigan Workforce Opportunity Wage Act (“MWOWA”), M.C.L. ​§ 408.411 ​et seq​.

2.      During the period of the parties' employment relationship, D​efendants violated the FLSA

        by failing to compensate Plaintiff one and one-half times his regular hourly rate for all




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        hours   worked in excess of forty (40) hours per workweek. The FLSA requires

        non-exempt employees to be compensated for overtime work at the mandated overtime

        wage rate.

3.      Plaintiff seeks a declaration that his rights were violated, an award of unpaid wages, an

        award of liquidated damages along with an award of attorney's fees and costs..

                                JURISDICTION AND VENUE

4.      This Court has federal question jurisdiction over this action pursuant to 28 U.S.C. § 1331

        and Section 16(b) of the Fair Labor Standards Act ("FLSA"), 29 U.S.C. § 216(b).

5.      Defendant Grand River Grain, LLC’s employees were either (1) engaged in commerce;

        or (2) engaged in the production of goods for commerce; or (3) employed in an enterprise

        engaged in commerce or in the production of goods.

6.      Plaintiff was engaged in commerce either through 1) work related to the actual movement

        of commerce; 2) work that regularly uses the channels of commerce; or 3) work related to

        the instrumentalities of commerce.

7.      Defendant Grand River, Grain LLC’s annual sales exceed $500,000.

8.      Defendant employs more than two persons.

9.      Defendant corporation Grand River Grain, LLC is and was at all times relevant

        incorporated in the State of Michigan and has its principal place of business located in

        Coopersville, Michigan, within the United States Judicial District of the Western District

        of Michigan.

10.     Defendant corporation Grand River Grain, LLC at all times relevant had authorization to

        conduct business in the State of Michigan.




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11.   Venue is proper in this District pursuant to 28 U.S.C. § 1391 because the actions and

      omissions giving rise to the claims pled in this Complaint occurred in this District.

12.   This Court has supplemental jurisdiction over the state law claims asserted herein

      pursuant to 28 U.S.C. § 1391.

13.   Supplemental jurisdiction is appropriate because Plaintiff’s state law claims share a

      common nucleus of operative fact with Plaintiff’s federal claim and the claims are most

      efficiently resolved together in one court.

                                           PARTIES

14.   Plaintiff Francisco Vega Genchi (“Genchi”) is an individual who at all times relevant to

      this complaint resided in the County of Ottawa, state of Michigan.

15.   Plaintiff worked for Defendants from approximately December 2000 to October 25,

      2017.

16.   Plaintiff executed a consent to sue form, attached hereto as ​Exhibit 1.

17.   Defendant Grand River Grain, LLC (“GRG”) is a limited liability company whose

      registered office is located at 15585 68th Ave, Coopersville, Michigan, 49404.

18.   Defendant Keith E. Hanenburg (“Hanenburg”) is an individual who at all times relevant

      was the owner and Resident Agent of Defendant GRG.

19.   Defendant Hanenburg at all times relevant was the direct supervisor of Plaintiff.

20.   Defendant Hanenburg at all times relevant set Plaintiff’s schedule and directed Plaintiff’s

      activities at work.

21.   In addition to Defendant GRG, Defendant Hanenburg owns several residential rental

      properties.




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22.   Defendants employed Plaintiff within the meaning of 29 U.S.C. § 203(g).

                                GENERAL ALLEGATIONS

23.   Plaintiff worked for Defendants from approximately December 2000 to October 25,

      2017.

24.   Plaintiff worked as a general laborer during his entire employment with Defendants.

25.   Plaintiff was tasked with the maintenance of Defendant GRG’s property.

26.   Additionally, Plaintiff’s duties and responsibilities also included maintenance and

      landscaping at Defendant Hanenburg’s other business properties such as River Ridge

      Farm, Inc and his residential rental properties.

27.   All of Plaintiff’s tasks and duties were completed while on the clock for Defendant GRG.

28.   In any given workweek, Plaintiff rotated frequently between working at Defendant GRG

      and Defendant Hanenburg’s residential rental properties.

29.   From 2000 to 2014, Plaintiff was compensated at a rate of $9.00 per hour.

30.   From 2014 to the conclusion of his employment, Plaintiff was compensated at a rate of

      $12.00 per hour.

31.   For the duration of his employment with Defendants, Plaintiff was paid via check on a

      bi-weekly basis.

32.   For the duration of his employment, Plaintiff typically worked from approximately 7:00

      AM to approximately 5:00 PM, 6:00 PM, or 7:00 PM, depending on the need for that

      particular day.

33.   Every year from January through September, Plaintiff typically worked Monday through

      Saturday each workweek.




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34.   Every year, from January through September, Plaintiff typically worked two Sundays per

      month.

35.   Every year, from October through December, Plaintiff typically worked Monday through

      Sunday.

36.   Plaintiff worked, on average, fifty (50) to sixty (60) hours per week.

37.   Throughout the entire duration of his employment, Plaintiff was not compensated at the

      mandated overtime rate for all hours worked in excess of forty (40) in a workweek.

                           WILLFUL VIOLATIONS OF THE FLSA

38.   Defendants knowingly and willfully disregarded the provisions of the FLSA as evidenced

      by their failure to compensate Plaintiff at the statutory overtime rate of one and one-half

      times his regular rate for all hours worked in excess of forty (40) hours per week, when

      Defendants knew or should have known such was due and that non-payment of overtime

      pay would financially injure Plaintiff.

39.   Defendants are a sophisticated business and individual with the knowledge and expertise

      to know that the payment structure used to compensate Plaintiff was and is impermissible

      under the FLSA.

40.   Defendant Hanenburg stated to Plaintiff that he did not pay overtime because Plaintiff

      worked on a farm, although he paid overtime to other employees at another farm he

      owned for planting and picking corn.

41.   Defendant Hanenburg utilized his business, Defendant GRG to subvert his obligations

      under federal law.




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42.    The FLSA, 29 U.S.C. § 216(b), provides that as a remedy for a violation of the Act, an

       employee is entitled to his or her unpaid minimum and overtime wages plus an additional

       equal amount in liquidated damages, costs, and reasonable attorney’s fee.

                                COUNT I
      VIOLATION OF THE FAIR LABOR STANDARDS ACT, 29 U.S.C. §201 et seq.,
                       FAILURE TO PAY OVERTIME

43.    Plaintiff hereby incorporates by reference all previous paragraphs as if fully stated herein.

44.    At all relevant times, Defendants have been “employer[s]” within the meaning of the

       FLSA, 29 U.S.C. § 203.

45.    At all relevant times, Plaintiff was an “employee” of Defendants as the term is defined

       under the FLSA.

46.    At all times relevant to this action, Defendants “suffered or permitted” Plaintiff to work

       and thus “employed” Plaintiff within the meaning of the FLSA, 29 U.S.C. §203(g).

47.    The FLSA requires an employer to pay employees the federally mandated minimum

       wage as well as an overtime premium rate of one and one-half times their regular rate of

       pay for every hour worked in excess of 40 hours per workweek, 29 U.S.C. §206.

48.    By failing to compensate Plaintiff at a rate not less than one and one-half times his

       regular rate of pay for work performed in excess of forty hours in a workweek,

       Defendants have violated the FLSA, 29 U.S.C. § 201, ​et seq​., including 29 U.S.C. §

       206(a)(1), § 207(a)(1) and § 215(a).

49.    Defendants’ violations of the FLSA were knowing and willful.




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50.   The FLSA, 29 U.S.C. §216(b), provides that as a remedy for a violation of the Act, an

      employee is entitled to his or her unpaid overtime wages plus an additional equal amount

      in liquidated damages, costs, and reasonable attorney’s fee.

51.   As a result of Defendants’ violation, Plaintiff is entitled to his unpaid overtime wages, an

      additional equal amount as liquidated damages, costs, and reasonable attorney’s fee.

                               COUNT II
  ​ IOLATION OF THE MICHIGAN’S WORKFORCE OPPORTUNITY WAGE ACT,
   V
                        M.C.L.A. § 408.411, et seq.,
                      FAILURE TO PAY OVERTIME

52.   Plaintiff hereby incorporates by reference all previous paragraphs as if fully stated herein.

53.   The Michigan’s Workforce Opportunity Wage Act (“MWOWA”), makes it unlawful for

      an employer to pay an employee less than what is prescribed in the statute. M.C.L.A. §

      408.411,​ et seq​.

54.   Defendants were an “employer” as defined under the MWOWA at all relevant times.

55.   Plaintiff was an “employee” as defined under the MWOWA at all relevant times.

56.   Defendants regularly suffered or permitted Plaintiff to work in excess of forty (40) hours

      per workweek.

57.   Defendants did not pay Plaintiff one-and-a-half times his regular hourly rate for the hours

      worked in excess of forty (40) hours in a workweek ​as mandated by Michigan law

      pursuant to M.C.L. § 408.414a.

58.   The MWOWA provides that as a remedy for a violation of the Act, an employee is

      entitled to overtime compensation and an equal additional amount as liquidated damages

      together with costs and such reasonable attorney fees.




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59.     As a result of Defendants’ violation, Plaintiff is entitled to his unpaid overtime wages

        plus an additional equal amount in liquidated statutory damages along with costs and

        reasonable attorney fees.

                                     PRAYER FOR RELIEF

        WHEREFORE​, Plaintiff requests the following relief:

A.      The actions of Defendants complained of herein be adjudicated, decreed, and declared a

        breach of their obligations under the FLSA;

B.      The actions of Defendants complained of herein be adjudicated, decreed, and declared a

        breach of their obligations under the MWOWA;

C.      An Order granting judgment in favor of Plaintiff and against Defendants and awarding

        Plaintiff the full amount of damages and liquidated damages available to him under the

        FLSA;

D.      An Order granting judgment in favor of Plaintiff and against Defendants and awarding

        Plaintiff the full amount of damages and liquidated damages available to him under the

        MWOWA;

E.      An Order awarding reasonable attorney fees and costs incurred by Plaintiff under the

        FLSA as provided by statute;

F.      An Order awarding reasonable attorney fees and costs incurred by Plaintiff under the

        MWOWA as provided by statute; and

G.      An Order awarding such other and further relief as this Court deems appropriate.



Dated: October 25, 2019                       Respectfully Submitted,

                                              /s/ Robert Anthony Alvarez​              .


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                                              Robert Anthony Alvarez (P66954)
                                              Attorney for Plaintiff
                                              Avanti Law Group. PLLC




                              REQUEST FOR TRIAL BY JURY

       NOW COMES Plaintiff Francisco Vega Genchi, by and through his attorney, and hereby

requests a trial by jury pursuant to Rule 38(b)(1) of the Federal Rules of Civil Procedure.


                                              Respectfully Submitted,


                                              /s/ Robert Anthony Alvarez​              .
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